Case 2:24-cv-00364-AKB Document6-1 Filed 12/10/24 Pagei1ofi1

UNITED STATES DISTRICT COURT

for the
District of Idaho

Nathanael Donald Lewis y
)
Plaintiff )

) Case No: 2:24-cv-00364, AKB
Vv. )
)
Antony L. Blinken, et al. J
)
Defendants )
ORDER

IT IS ORDERED this day of , 2024: In consideration of

the Plaintiff's complaint, motion to compel, and the supporting documentation submitted, the
court finds that Nathanael Donald Lewis has shown that he is a natural born citizen of the United
States of America, that he applied for a passport, that the passport was unlawfully denied, and
that the court has jurisdiction pursuant to 8 U.S.C. § 1503, 28 U.S.C. §§ 1361, 1651, 2201 and
2202, among others, to provide relief. Therefore, the court orders Antony L. Blinken, Secretary
of State, United States of America, issue a regular passport for Nathanael Donald Lewis, and to
expedite its delivery to Mr. Lewis at his home in Nordman, Idaho.

By the Court

Amanda K. Brailsford, District Court Judge
